Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20              Page 1 of 14 PageID 5837



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                  §
  AMERICA,                                       §
                                                 §
         Plaintiff and Counter-Defendant         §
                                                 §
  and                                            §
                                                 §
  WAYNE LAPIERRE,                                §
                                                 § Civil Action No. 3:19-cv-02074-G
         Third-Party Defendant,                  §
                                                 §
  v.                                             §
                                                 §
  ACKERMAN MCQUEEN, INC.,                        §
                                                 §
         Defendant and Counter-Plaintiff,        §
                                                 §
  MERCURY GROUP, INC., HENRY
                                                 §
  MARTIN, WILLIAM WINKLER,
                                                 §
  MELANIE MONTGOMERY, and JESSE
                                                 §
  GREENBERG,
                                                 §
                                                 §
         Defendants.
                                                 §


APPENDIX IN SUPPORT OF DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO
    COMPEL PLAINTIFF’S DOCUMENT PRODUCTION AND MOTION FOR
                           SANCTIONS

        Defendants, Ackerman McQueen, Inc., Mercury Group, Inc., Henry Martin, William

Winkler, Melanie Montgomery, and Jesse Greenberg, offer the following evidence in support of

Reply in Support of Motion to Compel Plaintiff’s Document Production and Motion for Sanctions:

  EX                               DESCRIPTION                                     APPX

 B       Declaration of Brian E. Mason, dated April 6, 2020                     APP001-
                                                                                APP003

 B-1     Hearing transcript dated February 6, 2020, NRA v. AMc, et al., Superior APP004-
         Court of Virginia, Cause CL19001757, CL19002067 and CL19002886. APP010



APPENDIX IN SUPPORT OF DEFENDANTS’ REPLY TO MOTION TO COMPEL                           PAGE 1
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                 Page 2 of 14 PageID 5838



Dated: April 6, 2020                                Respectfully submitted,


                                                    /s/ Brian E. Mason
                                                    G. Michael Gruber, Esq.
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                                                    Jay J. Madrid, Esq.
                                                    Texas Bar No. 12802000
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                                                    Dallas, Texas 75201
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                                                    ATTORNEYS FOR DEFENDANTS




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically
served via the Court’s electronic case filing system upon all counsel of record on this 6th day of
April 2020:

                                             /s/ Brian E. Mason
                                             Brian E. Mason




APPENDIX IN SUPPORT OF DEFENDANTS’ REPLY TO MOTION TO COMPEL                              PAGE 2
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20   Page 3 of 14 PageID 5839




                      EXHIBIT B
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                Page 4 of 14 PageID 5840



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                    §
  AMERICA,                                         §
                                                   §
             Plaintiff and Counter-Defendant       §
                                                   §
  and                                              §
                                                   §
  WAYNE LAPIERRE,                                  §
                                                   § Civil Action No. 3:19-cv-02074-G
             Third-Party Defendant,                §
                                                   §
  v.                                               §
                                                   §
  ACKERMAN MCQUEEN, INC.,                          §
                                                   §
             Defendant and Counter-Plaintiff,      §
                                                   §
  MERCURY GROUP, INC., HENRY
                                                   §
  MARTIN, WILLIAM WINKLER,
                                                   §
  MELANIE MONTGOMERY, and JESSE
                                                   §
  GREENBERG,
                                                   §
                                                   §
             Defendants.
                                                   §

                             DECLARATION OF BRIAN E. MASON

        Pursuant to 28 U.S.C. § 1746, I, Brian E. Mason, hereby declare as follows:

        1.       My name is Brian E. Mason. I am over eighteen years of age. I have never been

convicted of a felony or misdemeanor involving moral turpitude. I am fully competent to make

this declaration. I am a lawyer at Dorsey & Whitney, LLP (“Dorsey”) and counsel of record for

Ackerman McQueen, Inc. (“AMc”), Mercury Group, Inc. (“Mercury”), Henry Martin (“Martin”),

William Winkler (“Winkler”), Melanie Montgomery (“Montgomery”), and Jesse Greenberg

(“Greenberg”) (collectively, “Defendants”) in the above-captioned matter (the “Texas Lawsuit”).

I am also admitted pro hac vice representing AMc and Mercury Group in the following lawsuits




DECLARATION OF BRIAN E. MASON                                                           PAGE 1
                                                                                      APP001
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                      Page 5 of 14 PageID 5841



in Virginia: National Rifle Association of America v. Ackerman McQueen, Inc., et al., Case Nos.

CL19002067, CL19001757, and CL19002886, pending before the Circuit Court for the City of

Alexandria, Virginia (collectively, the “Virginia Lawsuits”). I have personal knowledge of the

facts set forth in this declaration and acknowledge them to be true and correct.

           2.       On February 3, 2020, I, along with my colleague, Kelsey Taylor, conferred with

counsel for Plaintiff (Beth Landes, Jason McKenney, and Michael Collins) regarding the Motion

to Compel. During the conference, I repeatedly represented to Plaintiff’s counsel that we were

prepared to specifically address each of Plaintiff’s many responses and objections that were

deficient. In response, Plaintiff’s counsel told me that we should instead proceed topically because

a one-by-one review “won’t get us anywhere.” 1 Based on Plaintiff’s counsel’s instructions, I did

just that.

           3.       Specifically, I raised questions about—and challenged Plaintiff’s positions on—the

topics addressed in the Motion to Compel, including, but not limited to the following:

                    a.       Privilege objections, including seeking clarification and whether requests

accompanied by relevance objections were being withhold in toto, which counsel “took under

advisement”;

                    b.       New York Attorney General-related requests, including the Lockton and

Carry Guard matters, which I explained Plaintiff put at issue when: (i) it first submitted AMc to a

document request on the basis of those matters, which then devolved into full-blown audits that

are the basis of the first Virginia lawsuit, Plaintiff’s breach of contract claims in this lawsuit, and

AMc’s defamation claim, and (ii) Plaintiff made statements in the media about those initial and

subsequent document demands, all of which counsel “took under advisement”;



1
    Cf. ECF 70 at 6 § A (1) & 27 § F.


DECLARATION OF BRIAN E. MASON                                                                   PAGE 2
                                                                                             APP002
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                    Page 6 of 14 PageID 5842



               c.      Objections to requests that refer to Wayne LaPierre’s deposition and

whether Plaintiff is withholding non-privileged, responsive documents based on those references;

               d.      Requests 22 and 88 that are contradictory, concerning the Brewer Firm’s

communications with the media and specifically with Danny Hakim of the New York Times, and

generally whether Plaintiff would be producing documents and communications with the media,

to which counsel responded, “Let me think about it a little more.”;

               e.      The Brewer Firm’s public relations work and communications for Plaintiff;

and

               f.      The Brewer Firm’s invoices/billing, which I explained are relevant to show

why Lieutenant Colonel Oliver North was questioning Brewer’s fees, which ultimately led to his

ouster, termination of the AMc Services Agreement, and the false extortion narrative, in addition

to being relevant for the attorneys’ fees Plaintiff seeks. I also referenced specific requests as an

example (Nos. 4, 6, 39, 40).

       4.      Attached hereto as Exhibit B-1 is a true and correct copy of excerpts from the

hearing transcript dated February 6, 2020, NRA v. AMc, et al., Superior Court of Virginia, Cause

CL19001757 and CL19002067.

       I declare under penalty of perjury and in accordance with 28 U.S.C. § 1746 that the

foregoing is true and correct.


Executed this 6th day of April, 2020.


                                                     Brian E. Mason




DECLARATION OF BRIAN E. MASON                                                               PAGE 3
                                                                                         APP003
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20   Page 7 of 14 PageID 5843




                     EXHIBIT B-1
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20   Page 8 of 14 PageID 5844




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                                                                     APP004
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20   Page 9 of 14 PageID 5845
                                                                              1 (1)
                                 Transcript of hearing                     2/6/2020



              1       V I R G I N I A:

              2       IN THE CIRCUIT COURT FOR THE CITY OF ALEXANDRIA

              3       - - - - - - - - - - - - - - x

              4      THE NATIONAL RIFLE
                     ASSOCIATION OF AMERICA
              5
                                     Plaintiff
              6                                          Case Nos. CL19001757
                     -vs-
              7                                                    CL19002067
                     ACKERMAN MCQUEEN, INC.
              7                                                    CL19002886
                     and
              9
                     MERCURY GROUP, INC.
            10
                                   Defendants
            11        - - - - - - - - - - - - - - x

            12                                    Alexandria, Virginia
                                            Thursday, February 6, 2020
            13

            14              The above-entitled matter came on for

            15        hearing before THE HONORABLE NOLAN B. DAWKINS,

            16        a Judge in and for the Circuit Court for the

            17        City of Alexandria, Alexandria, Virginia, in

            18        Courtroom 1, pursuant to notice, beginning at

            19        10:18 a.m., when there were present on behalf

            20        of the parties:

            21

            22


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                                                                     APP005
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20   Page 10 of 14 PageID 5846
                                                                              2 (2)
                                  Transcript of hearing                    2/6/2020



              1       APPEARANCES:

              2       On Behalf of the Plaintiff

              3             James W. Hundley, Esquire
                            Robert H. Cox, Esquire
              4             Briglia Hundley, P.C.
                            1921 Gallows Road, Suite 750
              5             Tysons Corner, Virginia 22182

              6             Michael J. Collins, Esquire
                            Jason C. McKenney, Esquire
              7             Brewer Attorneys & Counselors
                            1717 Main Street, Suite 5900
              8             Dallas, Texas 75201

              9       On Behalf of the Defendants

             10             David H. Dickieson, Esquire
                            Joseph Gonzalez, Esquire
             11             David Schertler, Esquire
                            Schertler & Onorato, LLP
             12             901 New York Avenue, NW, Suite 500
                            Washington, D.C. 20001
             13
                            Brian E. Mason, Esquire
             14             Dorsey & Whitney, LLP
                            300 Crescent Court, Suite 400
             15             Dallas, Texas 75201

             16

             17                        C O N T E N T S

             18

             19                                           PAGE

             20       Proceedings...................3

             21

             22


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                                                                     APP006
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                     Page 11 of 14 PageID 5847
                                                                                                    18 (63 - 66)
                                               Transcript of hearing                                    2/6/2020
                                                      Page 63                                                 Page 65

          1   I'm sure Mr. Schertler made just an honest         1          MR. SCHERTLER: And we just did the
          2   mistake. That's who he is. It wouldn't have        2   first one. And I have a copy for --
          3   been nothing than an honest mistake. He said       3          THE COURT: I'm getting too old for
          4   you already ruled on the breach of fiduciary       4   this.
          5   duty claim. Your Honor, you ruled that they        5          MR. SCHERTLER: Come on, Judge, we're
          6   don't have a claim for breach of good faith and    6   one-eighth of the way through.
          7   fair dealing claim, because that is, in            7          THE COURT: Whoever the judge is,
          8   essence, superseded in the services agreement.     8   they're going to hate me.
          9   And it looked like the breach of fiduciary duty    9          Let's -- I want to do -- the second
         10    claim was, one, duplicative and, two, to try     10    one I think I can take care of pretty quickly
         11    to, you know, get around the plain language of   11    as the -- AMC's motion to -- for in-camera
         12    the services agreement. That's what you ruled,   12    review. That's denied. It's too many
         13    your Honor. You didn't --                        13    documents. I think it's something that the
         14          THE COURT: I'm certainly not prepared      14    Court is not capable of doing. I think the
         15    to respond to that.                              15    number of -- just the number of documents that
         16          MR. COLLINS: Oh, no. No, just giving       16    we've already discussed and the number of pages
         17    you context, your Honor.                         17    that you've discussed makes it almost
         18          THE COURT: Okay.                           18    impossible for the Court to adequately address.
         19          MR. COLLINS: So I think -- but I           19          You want to -- yes, sir,
         20    think what they just said to your Honor          20          MR. GONZALEZ: Yes, your Honor,
         21    demonstrates that there's no prejudice and,      21    briefly. We refer to in-camera review. But
         22    your Honor, especially no unfair prejudice,      22    one of the other matters we raised in that
                                                      Page 64                                                 Page 66

          1   because we're going to be doing all that work      1   motion is the issue that is undecided of
          2   the same, and Dorsey's here in the Virginia        2   waiver. It's clear in this case that FRA is
          3   action anyway.                                     3   the central witness in the first lawsuit.
          4         But, your Honor, I know you're going         4   Their documents aren't just important to the
          5   to do what you know is -- what you believe is      5   case. They are the case.
          6   correct. And so but I would still suggest,         6         And so, yes, we move for in-camera
          7   your Honor, just to delay ruling on this to        7   review. But the reason we also moved is
          8   hear both sides' motions to compel. And I          8   because of what the Judge said, what your Honor
          9   think we'll give you more context. Thank you       9   said the last time we were here. And I think
         10    so much, your Honor.                             10    your Honor acknowledged explicitly --
         11          THE COURT: Okay. All right.                11          THE COURT: I know that I said that.
         12          All right. Just one second.                12    I'm certain that I said what I said. But I
         13          MR. SCHERTLER: Your Honor, if I may,       13    think that I said that kind of without
         14    I have a cheat sheet.                            14    knowledge of what I've read recently about the
         15          THE COURT: Yes. Please.                    15    number of documents and what I'm going to have
         16          MR. SCHERTLER: It lists all the            16    to review and make a decision on. And
         17    motions that I think we have. Maybe this would   17    ultimately it seems to me that that would
         18    help you.                                        18    require a trial within a trial.
         19          THE COURT: I have a cheat sheet too.       19          MR. GONZALEZ: Your Honor, there's a
         20          MR. SCHERTLER: Okay. Your cheat            20    simple solution to that.
         21    sheet's probably better than mine.               21          THE COURT: Yes, sir.
         22          THE COURT: Okay. Bring it up. Okay.        22          MR. GONZALEZ: The simple solution is


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                                                                                                 APP007
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                               Page 12 of 14 PageID 5848
                                                                                                                   19 (67 - 70)
                                                      Transcript of hearing                                            2/6/2020
                                                               Page 67                                                       Page 69

          1   this, grant our motion to compel those                      1          THE COURT: Is that part of your
          2   documents, because there has been a waiver.                 2   motion to compel?
          3   And the facts are incredibly clear on that.                 3          MR. GONZALEZ: And our most recent --
          4   They were the central witness. They were paid               4   and our most recent brief, your Honor.
          5   by the NRA to interact AMC. And you made the                5          THE COURT: Okay. All right. Let's
          6   allusion to Brady. I think you're exactly                   6   hold off. Let's hear your motions to compel,
          7   right. Courts around the country agree with                 7   and then we'll deal with that later; okay?
          8   you. It's tantamount to withholding Brady                   8          MR. GONZALEZ: Thank you, your Honor.
          9   evidence. It prevents us fundamentally from                 9   And I appreciate that. It's so important to my
         10    defending ourselves with respect to that                  10    client.
         11    lawsuit.                                                  11          THE COURT: All right. Let's do that.
         12          You have two actors here, AMC and FRA.              12          All right. Let's proceed. Let's go.
         13    They said FRA can get up here and testify. But            13    Let's do this one, NRA's motion to compel
         14    we're not allowed to ask for any documents from           14    supplemental responses to plaintiff's
         15    that witness. That kneecaps us. It                        15    interrogatories, motion for sanctions. How
         16    fundamentally prevents us from doing                      16    would you like to proceed?
         17    cross-examination. And those documents, if you            17          MR. COLLINS: Judge, just very
         18    take a look, if you take a look at their                  18    briefly, I have mentioned to people here that I
         19    privilege log, they're what the first lawsuit             19    have a health condition.
         20    is about. That's what they indicate. They're              20          THE COURT: I'm sorry?
         21    about the document review, the examination that           21          MR. COLLINS: I have a health
         22    occurred.                                                 22    condition that's been bothering me some today.
                                                               Page 68                                                       Page 70

         1         And so essentially what the NRA is                    1    So I may need to step out briefly.
         2    saying, you're only going to be able to talk               2            THE COURT: Oh, whenever. Okay.
         3    about this, but you're not going to be able to             3            MR. COLLINS: Okay. Thank you.
         4    talk about what actually occurred, what that               4            THE COURT: All right. Do you want me
         5    fact witness thought, what they said. Any                  5    to adjourn, or do you --
         6    other fact witness gets up there, you'd be                 6            MR. COLLINS: No. No, I do not. No,
         7    allowed to do that. And the courts recognize               7    I do not.
         8    that. And they say when you put somebody at                8            THE COURT: Okay. All right.
         9    issue, when you file a lawsuit which they did              9            MR. MCKENNEY: Should we go one
         10   in the first case -- they said you didn't                  10   interrogatory by one? It seems like the most
         11   comply with FRA's examination -- when you make             11   practical way, your Honor.
         12   that choice and you put that at issue, waiver's            12           THE COURT: Well, let's do the -- your
         13   the only way you go. Otherwise it's a wrong of             13   interrogatories. And then I'll allow a
         14   an unconstitutional magnitude.                             14   response, and then we'll do your next one. And
         15         And that's what's happening here. We                 15   we'll make a decision on each interrogatory as
         16   cannot defend ourselves without those                      16   -- I mean each motion.
         17   documents. And so, your Honor, I agree with                17           MR. MCKENNEY: Would you like me to go
         18   you. It is kind of unfair to ask the Court to              18   through all of them first?
         19   do that. But given the importance, given the               19           THE COURT: No, one at a time. One at
         20   importance, I'd ask the Court to make a ruling             20   a time. Respond. I'll decide. Then go to the
         21   at least with respect to that waiver argument,             21   next.
         22   because it's crystal clear.                                22           MR. MCKENNEY: Okay.


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                                                                                                              APP008
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                       Page 13 of 14 PageID 5849
                                                                                                         39 (147 - 150)
                                               Transcript of hearing                                           2/6/2020
                                                     Page 147                                                         Page 149

          1   problem, we want to know the finances of all        1   just going back to my argument about conserving
          2   your officers and all your directors, because       2   the resources of this court, we would still
          3   we want to have that in our back pocket. It         3   move to ask the Court to deny the motion to
          4   has nothing to do with the case. It's a gross       4   amend the complaint.
          5   invasion of privacy. The case law that relates      5          MR. COLLINS: Your Honor, we think it
          6   to net worth of parties does not apply to           6   should be granted. But I don't need to say
          7   officers and employees of the party.                7   anything more than I said so far. And I think
          8          THE COURT: Motion's denied.                  8   the next hearing will help us understand.
          9          MR. MCKENNEY: Thank you, your Honor.         9          THE COURT: In light of the ultimate
         10    That's all we have.                               10    timing of these matters in terms of when this
         11           THE COURT: All right. Now, it's now        11    matter's going to be tried, the Court will
         12    half a day. It was slotted for a half day.        12    grant the motion to amend understanding that
         13    Probably another half day in order to hear the    13    there may be collateral estoppel at some point
         14    balance of the case. Would you suggest that's     14    if this matter's tried in the Texas court.
         15    true?                                             15           All right.
         16           MR. SCHERTLER: It's at least a few         16           MR. DICKIESON: Your Honor, there's
         17    more hours.                                       17    one more very short matter that I think we're
         18           MR. COX: Your Honor, just to let you       18    close to an agreement that counsel fly in from
         19    know, if -- because it was represented a half a   19    Dallas whether or not documents in the Virginia
         20    day, we don't have a problem if the Court sees    20    case --
         21    fit to set this down for another date certain     21           THE COURT: You came from Dallas with
         22    to finish this.                                   22    nothing -- not much to say; huh?
                                                     Page 148                                                         Page 150

          1           THE COURT: Okay. Let's do this             1         MR. MASON: Just a few things briefly,
          2   first. As it appears regardless of the Court's     2    your Honor.
          3   ruling with regard to the issue on amending the    3         THE COURT: Say something. I don't
          4   complaint, this case will take at least four       4    want you to come from Dallas and without having
          5   weeks. So to that extent, I guess I'm going to     5    anything to say. Tell me anything.
          6   have to send you to chambers and, one, remove      6         MR. COLLINS: I'm from Dallas too,
          7   the case from the docket in April and,             7    your Honor.
          8   secondly, find four weeks in the year 2021.        8         MR. MASON: Thank you, your Honor.
          9           That being the case, the balance of        9    And I'll try and be -- Brian Mason from Dorsey
         10    the matters scheduled for today's hearing can     10   & Whitney. I'm counsel for Ackerman McQueen in
         11    be heard at a later date. And we'll schedule      11   the Dallas federal lawsuit.
         12    those for another day at your convenience after   12         The issue I wanted to address briefly
         13    you've gotten the new trial date.                 13   was the motion to modify the Virginia
         14           It seems to me kind of to short            14   protective order that was filed.
         15    circuit this, again, I'm not likely to be the     15         THE COURT: Okay.
         16    trial judge in this case. So I will withhold      16         MR. MASON: And just to give you a
         17    any ruling on the issue with regard to the        17   little bit of context on kind of how we got to
         18    in-camera review of the documents since I         18   this point, we talked about the federal case.
         19    suspect ultimately the trial judge is going to    19   There was an amended complaint filed by the NRA
         20    have to do that once you -- this matter is        20   back in October. And in that complaint, that
         21    ultimately decided when it's going to be heard.   21   amended complaint, all of these additional
         22           MR. SCHERTLER: Your Honor, I think         22   issues were alleged.


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                                                                                                         APP009
Case 3:19-cv-02074-G-BK Document 91 Filed 04/06/20                             Page 14 of 14 PageID 5850
                                                                                               49 (187 - 187)
                                                        Transcript of hearing                        2/6/2020
                                                                Page 187

         1            CERTIFICATE OF REPORTER
         2
         3       I, Karen M. Smith, the stenographic
         4    reporter who was duly sworn to well and truly
         5    report the foregoing proceedings, do hereby
         6    certify that they are true and correct to the
         7    best of my knowledge and ability; and that I
         8    have no interest in said proceedings, financial
         9    or otherwise, nor through relationship with any
         10   of the parties in interest or their counsel.
         11       IN WITNESS WHEREOF, I have hereunto set my
         12   hand this 13th day of February, 2020.
         13
         14                   ______________________
         15                   Karen M. Smith
         16                   260496
         17
         18
         19
         20
         21
         22




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                                                                                               APP010
